                  Case 18-11452-lrc                 Doc       Filed 06/25/21 Entered 06/25/21 14:31:54                                           Desc Main
        Fill in this information to identify the case:         Document     Page 1 of 5
        Debtor 1        TIFFANY M PARSON
                       _____________________________________________________________________
                                                                                          __


        Debtor 2
        (Spouse, if filing)

        United States Bankruptcy Court for the:    NORTHERN                  District of    GEORGIA
                                                                                           (State)
        Case number             18 11452



       Official Form 410S1
       Notice of Mortgage Payment Change                                                                                                                         12/15

       If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
       debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
       as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                           Regions Bank d/b/a Regions Mortgage
        Name of creditor: ______________________________   __________________                    #5
                                                                     Court claim no. (if known): ______________________



        Last 4 digits of any number you use to                                                         Date of payment change:
        identify the debtor’s account:                        8 _____
                                                            _____     7 _____
                                                                  5 _____ 3                            Must be at least 21 days after date         08/01/2021
                                                                                                       of this notice


                                                                                                       New total payment:                          $   483.37
                                                                                                       Principal, interest, and escrow, if any

        Part 1:         Escrow Account Payment Adjustment

        1.   Will there be a change in the debtor’s escrow account payment?
                    No
             ;       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                     the basis for the change. If a statement is not attached, explain why: __________________________________________


                                                        165.55
                              Current escrow payment: $ _________________                            New escrow payment:          $ 169.84
                                                                                                                                    _______________

        Part 2:         Mortgage Payment Adjustment


        2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
             variable-rate account?

             ;       No
                    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                     attached, explain why: _____________________________________________________________________________


                          Current interest rate:       _______________ %                             New interest rate:         _______________%

                          Current principal and interest payment: $ ________________ New principal and interest payment: $ _________________


        Part 3:         Other Payment Change

        3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ;       No
                    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                     (Court approval may be required before the payment change can take effect.)

                              Reason for change: ____________________________________________________________________________________

                              Current mortgage payment: $ _______________                            New mortgage payment: $ ________________


       Official Form 410S1                                          Notice of Mortgage Payment Change                                                           page 1

Internal Use
                  Case 18-11452-lrc                   Doc           Filed 06/25/21 Entered 06/25/21 14:31:54                                    Desc Main
                                                                     Document     Page 2 of 5

                        TIFFANY M PARSON                                                                 Case number (if known)   18 11452
                                                                                                                                  ____________________________________________
       Debtor 1        __________________________________________________________
                       First Name    Middle Name              Last Name




       Part 4:     Sign Here


       The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your
       address and telephone number.
       Check the appropriate box.

          ; I am the creditor.
           I am the creditor’s authorized agent.

       I declare under penalty of perjury that the information provided in this claim is true and correct to the
       best of my knowledge, information, and reasonable belief.



       8/s/
          Signature
                          Phyllis Miller                                                          Date         6/17/2021
                                                                                                              _______________




       Print:           Phyllis Miller
                        _____________________________________________________          Loan Svcg BK Specialist
                                                                              _ Title _____________________________
                        First Name                    Middle Name          Last Name



       Company           Regions Bank d/b/a Regions Mortgage
                        _________________________________________________________


       Address           7130 Goodlett Farms Parkway
                        _________________________________________________________
                        Number               Street

                          Cordova, TN 38016
                        City                                               State       ZIP Code



       Contact phone     800-986-2462 X1572
                                    _________                                                           mem.bkynotice@regions.com
                                                                                                  Email ___________________________




       Official Form 410S1                                                Notice of Mortgage Payment Change                                                          page 2

Internal Use
                  Case 18-11452-lrc              Doc        Filed 06/25/21 Entered 06/25/21 14:31:54                                  Desc Main
                                                             Document     Page 3 of 5

       Debtor 1
                       TIFFANY M PARSON
                      __________________________________________________________               Case number (if known)
                                                                                                                        18 11452
                                                                                                                        ____________________________________________
                      First Name   Middle Name         Last Name




                                       UNITED STATES BANKRUPTCY COURT
                                                                      Certificate of Service
      I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was served on the parties listed below by
      postage prepaid U.S. Mail, First Class or served electronically through the Court's ECF System at the e-mail address registered
      with the court on

      Date:                           06/24/2021

      Chapter 13 Trustee:             MELISSA J DAVEY

      Trustee Address:                260 PEACHTREE ST NW, SUITE 200, ATLANTA, GA 30303-1202

      Trustee Email:


      Debtor's Counsel Name:          HOWARD P. SLOMKA

      Debtor's Counsel Address:       2859 PACES FERRY RD SE, SUITE 1700, ATLANTA, GA 30339

      Debtor's Counsel Email:


      Debtor 1 Name:                  TIFFANY M PARSON

      Debtor 2 Name:

      Debtor's Mailing Address:       38 MARIE PL, VILLA RICA, GA 30180-3768

      Debtor Email:

                                                                                                  /s/ Phyllis Miller




       Official Form 410S1                                         Notice of Mortgage Payment Change                                                       page 3

Internal Use
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